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PROB lZC
f7.¢'93)

United States District Court
for
l)istrict of New Jersey
Petition for Warrant or Sumrnons for Offender Under Supervision
Nan\e of Offender: Randy I"lonser Cr.: 95-()(]4()5-(}(]1
Nanne of Sentencing 3 udicial Ofl`icer: Honorable l-larold A_ Ackerrnan
Date of Original Sentenee: 03/22/96
Original Offcnse: Possession of a Firearm by a Convieted Felon_

(_')riginal ."'_'lentcncc: 96 Inr_)rnhs imprisonment followed by 3 years supervised release

Type of Supervision: Snpervised Release Date Supervision Commeneed.' 03!19/(]3
Assistant U.S. Attorne¥: l-lollv Kullta Defense Attome§: Lorraine Ganlo-Rnfo

 

PETITIONING 'l`I-IE COURT

[X] To issue a warrant
[ ] To issue a summons

The probation officer believes that the offender has violated the following condition(s) of supervision:

Violation N timber Nature of Noneomolianee

l 'I`he offender has violated the supervision condition which states ‘Yol.l Sllall not
commit another federal, state, or local crime.’

Cln Septemher ll, 2()()4, it is alleged that Houser assaulted another man. On
Cletoher 14, 2005, the Honorable l_)eborah Veneaia issued an arrest warrant. The
offender has been indicted in Middlese)t County Snperior Court with (:`.onsr_iiraey1
Atternpted Murder, Aggravated j\'ttssault1 Possession of a weapon for unlawful
purposes. l._lniawf ul Possessiou ofa weapon, llnlawl`ul theft or receipt of a credit
card, Fraudlilent use of a Crcdit Card. ()n October 27, 2005. Houser was
arrested.

2 The offender has violated the supervision condition whieh states ‘You shall not
associate with any persons engaged in criminal ac.tivily, and shall not
associate with any person convicted of a felony unless granted permission
to do so by the probation ot`t'icer.’

The offender has worked with a former federal inmate which he met while
residing at the Kintocl< Group llalfway l-touse in Newark. The offender had been
worltinlbJr with Syed Rehman since his release from custody and reported Syed
l{ehrnan was his supervisor. Cm his written montth supervision reports;
however. he indicated that he had no association with any criminal felons.

 

 

 

 

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PROB lZC - F'agc 2
l-?.andy Houser

l declare under penalty of perjury that the foregoing is true and correct.

 
 
   
 

By: Dina M. `Violante
U.S. Probation Officer
Date: tl/lB/OS

T l-[E COlJl{'l` ORDERS;

[ The lssoance of a Warrant
[ l Tlie issuance of a Sunnnons. Date of Hearing:
l j No Action
f ] (_)ther

 

Sign store of .ludit ial Officer `
ll_/"Z._ fda ever f

/ I)ate

 

